






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. WR-80,149-01




IN RE KELTON KARRON SIMS, Relator




ON APPLICATION FOR A WRIT OF MANDAMUS
CAUSE NO. W-11-21641-I (A) IN THE CRIMINAL DISTRICT COURT #2
FROM DALLAS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O R D E R

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed an application for a writ of
habeas corpus in the Criminal District Court #2 of Dallas County, that more than 35 days have
elapsed, and that the application has not yet been forwarded to this Court.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On October 23, 2013, this Court held in abeyance and ordered the Dallas County District
Clerk to respond as to why Relator’s habeas application had not yet been forwarded to this Court. 
On November 15, 2013, this Court received a response from Dallas County, indicating that the
District Attorney had been served with a copy of Relator’s habeas application on March 21, 2013,
and that the trial court entered a timely order designating issues on April 8, 2013.  Relator’s habeas
application still has not been received by this Court.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Respondent, the Judge of the Criminal District Court #2 of Dallas County, shall file a
response with this Court by having the District Clerk submit the record on such habeas corpus
application.  In the alternative, Respondent may resolve the issues set out in the order designating
issues and then have the District Clerk submit the record on such application.  In either case,
Respondent’s answer shall be submitted within 30 days of the date of this order.  This application
for leave to file a writ of mandamus will be held in abeyance until Respondent has submitted the
appropriate response.
&nbsp;
Filed: January 15, 2014
Do not publish&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


